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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION



EDYTA LEE, individually and as next friend
to minor plaintiff S.L.,

                  Plaintiff,

        v.                                         Case No. 1:22-cv-04650

META PLATFORMS, INC.,
FACEBOOK HOLDINGS, LLC,
FACEBOOK OPERATIONS, LLC,
FACEBOOK PAYMENTS, INC.,
FACEBOOK TECHNOLOGIES, LLC,
INSTAGRAM, LLC, AND
SICULUS, INC.,

                  Defendants.



  DEFENDANT FACEBOOK HOLDINGS, LLC’S NOTIFICATION OF AFFILIATES

   Pursuant to Federal Rule of Civil Procedure 7.1 and Local Rule 3.2, Defendant Facebook

Holdings, LLC discloses the following:

   1. Facebook Holdings, LLC is a subsidiary of Meta Platforms Inc., which is a publicly held

corporation. The sole member of Facebook Holdings, LLC is Meta Platforms, Inc.




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Dated: September 19, 2022

                                         Respectfully submitted,


                                          /s/ Jacob T. Spencer
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                                         Attorneys for Defendants Meta Platforms, Inc.,
                                         Facebook Holdings, LLC, Facebook Operations,
                                         LLC, Facebook Payments, Inc., Facebook
                                         Technologies, LLC, Instagram, LLC, and Siculus,
                                         Inc.




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                                CERTIFICATE OF SERVICE

         I certify that, on September 19, 2022, a true and correct copy of this Notification of

Affiliates was served by ECF on all counsel of record.



                                            /s/ Jacob T. Spencer
                                                Jacob T. Spencer


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